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            Exhibit 8
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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

MICHAEL BAZZREA, et al.,                            )
                                                    )
               Plaintiffs,                          )
                                                    )
                      v.                            )       CA No. 3:22-cv-00265
                                                    )
ALEJANDRO MAYORKAS, et al.,                         )
                                                    )
           Defendants.                              )
_________________________________                   )

                 DECLARATION OF COMMANDER BROOKE GRANT

       I, Commander Brooke Grant, hereby declare and state:

       1.      I am a commissioned officer serving on active duty in the United States Coast

Guard. I have served on active duty in the Coast Guard for over 20 years and am currently serving

as Chief, Military Personnel Policy Development Division (CG-1331). I have served in this

position since August 2021. My prior assignments include Logistics Department Head, United

States Coast Guard Sector Key West; Deputy, Office of Legal Policy and Program Development;

and Staff Attorney, United States Seventh Coast Guard District Legal Office. I am generally aware

of the allegations set forth in the pleadings filed in this matter and make this declaration in my

official capacity, based upon my personal knowledge and upon information that has been provided

to me in the course of my official duties. CG-1331 is the Coast Guard Headquarters office that

originally receives requests for religious accommodation from the COVID-19 vaccination

requirement.

       2.      Exhibit 1, attached to this declaration, provides updated data with respect to the

COVID-19 vaccination requirement. However, certain data elements are either not available or




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require further explanation.

       3.      Requests for religious accommodation from the COVID-19 vaccination

requirement in the Coast Guard are centrally managed, with the Office of Military Personnel

Policy, CG-133, serving as the final approval authority. Religious accommodation requests are

not tracked until they reach Coast Guard Headquarters. Accordingly, the column labeled “Total

Initial Requests” reflects only the number of religious accommodation requests that have been

received at Headquarters. Most requests for a religious accommodation from the COVID-19

vaccination requirement have been adjudicated.

       4.      In March 2022, the Coast Guard granted an administrative exemption to the

vaccination requirement for all members with an approved separation or retirement date no later

than October 1, 2022. The Coast Guard did not act on any pending religious accommodation

requests or appeals that were submitted by members who qualified for this administrative

exemption.

       5.      Permanent medical exemptions from vaccine requirements are also centrally

managed at Coast Guard Headquarters through the Office of Occupational Medicine, CG-112.

CG-112 does not actively track the number of applications for permanent medical exemptions that

have been submitted or denied. All permanent medical exemptions granted thus far are based on

a documented severe allergic reaction to a COVID-19 vaccine or a component of the vaccine.

       6.      Temporary medical exemptions are processed by medical officers in the field. The

Coast Guard does not maintain a database from which it can determine a complete and accurate

account of all temporary medical exemptions that have been granted. In addition, because the

temporary exemptions expire and are based on medical conditions that could arise during a

reporting period (e.g., a member may be granted a medical exemption if he or she is infected with




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COVID-19 and therefore ineligible to be vaccinated for the duration of the infection and for a

period afterwards), changes in the total number of temporary medical exemptions from one

reporting period to another would not reflect the total number of temporary medical exemptions

that have been granted. For example, during any given period, two temporary medical exemptions

might expire and two new temporary medical exemptions might be granted, but the total number

of temporary medical exemptions would remain the same.

       7.     The Coast Guard has not taken any action to Courts-Martial members that have

refused an order to become vaccinated. The Coast Guard has initiated administrative separations

for enlisted members and board action for officers who have not complied with COVID-19

vaccination requirements.   Of the administrative separations that have been completed, all

members received a discharge with a characterization of honorable.

       8.      I hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

foregoing is true and correct to the best of my knowledge and information.

Dated: August 30, 2022



                                            _______________________
                                            BROOKE GRANT
                                            Commander
                                            U.S. Coast Guard




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                                     Exhibit 1 to Declaration of CDR Grant
                        U.S. Coast Guard COVID-19 Vaccination Requirement Data
                                           Current as of 29 August 2022
(1) Number of religious exemption from COVID-19 vaccination:


    # Initial Requests Under       # Initial Request               # Initial Requests
                                                                                             Total Initial Requests
              Review                  Approved                           Denied

                1                           5                            1236 1                      1343


                                                                                    Fully Resolved Requests
     # Appeals Under                                   # Appeals               Aggregate # of
                           # Appeals Denied                                                        Aggregate # of
         Review                                        Approved                  Approved
                                                                                                  Denied Requests
                                                                                 Requests
            3                    881 2                    7                         12                 1183


(2) Number of medical-exemption requests from COVID-19 vaccination:

     Temporary Medical              Permanent                 Permanent Medical                Total Permanent
     Exemption Requests          Medical Exemptions           Exemptions Granted              Medical Exemption
                                      Denied                                                      Requests
           Unknown                   Unknown                               8                      Unknown 3


(3) Number of courts-martial and separation proceedings pending or concluded against a service member whose
request for a religious exemption was denied after appeal:

                       Courts-Martial                                  Administrative Separation (ADSEP)
            Pending                      Concluded                  ADSEP Initiated            ADSEP Completed
               0                           N/A                           81                          73




1
  This does not include members who submitted a religious accommodation request but were then granted an
administrative exemption based on an approved separation or retirement date no later than October 1, 2022.
2
  This does not include members who submitted a religious-accommodation appeal but were then granted an
administrative exemption based on an approved separation or retirement date no later than October 1, 2022.
3
  The Coast Guard is not actively tracking requests and continues to process permanent medical exemption requests
when received.
